             Case 3:17-cv-01362 Document 1509-18 Filed 01/12/22 Page 1 of 1 PageID #: 72946
            Eddy, Julie <IM CEAEX -
            _ O~AMERISOURCEBERGEN_ OU~EXCHAN GE+20ADMINISTRATIVE+20GROUP+20+28FYDIBOHF23 SPDLT +29 _ CN~RECIPIEN TS_ CN~JEDDY@namprd06.prod. outlook. com>
  From:
            on behalf of "Eddy, Julie" <IMCEAEX -
            - O~AMERISOURCEBERGEN_ OU~EXCHAN GE+ 20ADMINISTRA TIVE+ 20GROUP+20+28FYDIBOHF23 SPDL T + 29 _ CN ~RECIPIEN TS_CN ~ JEDDY@namprd06.prod. outlook. com>
  Sent:     Fri, 22 Apr 2011 13: 31: 17 -0400 (EDT)
  To:       "Z immerman, C hris " <C Zimm crman@ amc ris ourccb crg cn.com>
  Subject: RE: Saw This And Had To Share IL



   I sent this to you a month or so ago - nice to see it recirculated   ©

   From: Zimmerman, Chris
  Sent: Friday, April 22, 20111:30 PM
  To: Eddy, Julie
  Subject: FW: Saw This And Had To Share It ...




  · i=rc:iin: Hazewsi<i>i::dwarci
  Sent: Friday, April 22, 201112:45 PM
  To: Zimmerman, Chris; Mays, Steve; Ross, Paul; Gundy, Bruce; Crow, Robert
  Subject: FW: Saw This And Had To Share It ...




   From: Tomkiewicz, Joseph
  Sent: Friday, April 22, 201112: 12 PM
  To: Hazewski, Edward; Kreutzer, Kevin; Breitmayer, David
  Subject: Saw This And Had To Share It ...

   To the Tune of The Beverly Hillbillies

   Come and listen to a story about a man named Jed
   A poor mountaineer, barely kept his habit fed,
   Then one day he was lookin at some tube,
   And saw that Florida had a lax attitude.
   About pills that is, Hillbilly Heroin, "OC,"

   Well the first thing you know ol' Jed's a drivin South,
   Kinfolk said Jed don't put too many in your mouth,
   Said Sunny Florida is the place you ought to be
   So they loaded up the truck and drove speedily.
   South, that is.
   Pain Clinics, cash 'n carry.
   A Bevy of Pill billies!

   Well now its time to say Howdy to Jed and all his kin.
   And they would like to thank Rick Scott fer kindly invitin them.
   They're all invited back again to this locality
   To have a heapin helpin of Florida hospitality
   Pill Mills that is. Buy some pills. Take a load home. Y'all come back now, y'hear?

   Thanks,
   Joe Tomkiewicz
   Corporate Investigator
   AmerisourceBergen
  Corporate Security & Regulatory Affairs
  1001 West Taylor Road
  Romeoville, IL 60446
  815.221.3612

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                                                                                                                                                                          PLAINTIFFS TRIAL
                                                                                                                                                                              EXHIBIT
                                                                                                                                                                         P-00212_00001

CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                           ABDC-STCT000055846
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                     ABDCMDL00569571
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